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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No. ________________________________

Mark Downare, Plaintiff,

v.

GC Services, LP, Defendant.


                                             COMPLAINT


                                                PARTIES

1. Plaintiff Mark Downare is a resident of Colorado who presently resides at the following

     address: 9 Ranch Trail in Evergreen, CO 80439.

2. Defendant GC Services, Limited Partnership is a resident of Colorado who is located at the

     following address: 1675 Broadway, Suite 1200 in Denver, CO 80202.

                                            JURISDICTION

3. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices

     Act (FDCPA), 15 U.S.C. §1692. Venue is proper because a substantial part of the events

     giving rise to this claim occurred in this judicial district.

                                  BRIEF FACTUAL BACKGROUND

4. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

5. Plaintiff incurred a “debt” as defined by 15 U.S.C. §1692a(5).

6. At the time of the communications referenced herein, Defendant either owned the debt or

     was retained by the owner to collect the debt.

7. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).

8. Plaintiff filed this claim within the timeframe permitted under the FDCPA.
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9. On or around May 14, 2010, Defendant telephoned Plaintiff’s grandmother (“Grandmother”)

   and left a message for Plaintiff.

10. On or around May 14, 2010, Grandmother telephoned Plaintiff’s father (“Father”) to relay

   the message.

11. On or around May 14, 2010, Father telephoned Defendant.

12. During this communication, Defendant failed to verify Father’s identity.

13. During this communication, Defendant disclosed the existence, nature, and/or amount of the

   Debt to Father.

14. Defendant damaged Plaintiff emotionally and mentally and caused Plaintiff substantial

   anxiety and stress.

15. Defendant violated the FDCPA.

                                   FIRST CLAIM FOR RELIEF

                         Violation of the Fair Debt Collection Practices Act

16. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

17. Defendant violated 15 U.S.C. §1692c in that it communicated with a third party and failed to

   comply with 15 U.S.C. §1692b.

                                 SECOND CLAIM FOR RELIEF

                         Violation of the Fair Debt Collection Practices Act

18. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

19. Defendant violated 15 U.S.C. §1692c in that it communicated with a third party disclosed

   that Plaintiff owed the debt.

                                   THIRD CLAIM FOR RELIEF

                         Violation of the Fair Debt Collection Practices Act

20. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.
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21. The Defendant violated 15 U.S.C. §1692f in that its actions were unfair and/or

    unconscionable means to collect the debt.

                                  FOURTH CLAIM FOR RELIEF

                    Invasion of Privacy by Public Disclosure of a Private Fact

22. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

23. Defendant released information which was private to Plaintiff and concerned Plaintiff’s

    private life to Plaintiff’s father.

24. Defendant’s disclosure of Plaintiff’s debt to this person is highly offensive.

25. The information disclosed is not of legitimate concern to the public.

                                            JURY DEMAND

26. Plaintiff demands a trial by jury.

                                          PRAYER FOR RELIEF

27. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages, and costs and

                reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

            b. Judgment, in an amount to be determined at trial, against Defendant for the

                Invasion of Privacy by Public Disclosure of a Private Fact.

            c. For such other legal and/or equitable relief as the Court deems appropriate.

                                                RESPECTFULLY SUBMITTED,

                                                Macey & Aleman, P.C.

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